

Per Curiam.

The withholding of 10% of an employee’s income by an employer for the benefit of a judgment creditor is mandated by CPLB 5231 (.subd. [e1]). An employer may not turn over to the Marshal less than 10% of the income due to the judgment debtor, to the detriment of a second income execution, which was duly served and filed with him.
However, a judgment debtor may move to reduce the percentage (CPLB 5231, subd. [g]) o.r the employer may protect itself by moving for an order of modification (CPLB 5240).
The judgment should be affirmed, with $25 costs.
Concur — Hofstadtbr, J. P., Gold and Markowitz, JJ.
Judgment affirmed, etc.
